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EXHIBIT P

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APPL|CABlLlT¥: All Authorized Personne|

 

DATE: December 17, 2013

A"LEG"'ENY c°UNTY POL'CY NUMBER‘ #14 REvlsED: october 21, 2015

 

 

BUREAU OF CORRECT|ONS
TlTLE: SU|C|DE PREVENT|ON and lNTERVENT|ON

 

 

AuTHoszo BY: oRLANDo L. HARPER
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POL|CY:

lt is the policy of the Allegheny County Bureau of Corrections to provide a safe and
secure environment, to preserve life, to prevent injury and to respond appropriately to
special management needs of inmates.

PURPOSE:

To provide policy and procedures for suicide prevention and management of inmates in
the custody of the Al|egheny County Bureau of Corrections and Who are potentially at
risk for suicide or self-harm.

Definitions:

1. Actively Suicidal: An inmate determined by a medical or mental health
professional to be in imminent danger of committing suicide because of a recent
suicide attempt, a verbalized threat to commit suicide, or other suicide risk
indicator.

2. Critical Suicide Attempt: Any incident in Which an inmate's suicide attempt
results in an emergency medical hospitalization or psychiatric hospitalization.

3. Clinica| Restraints: A therapeutic intervention initiated by medical or mental
health staff to use devices designed to safely limit a patient’s mobility in a crisis
due to physical or mental i||ness.

4. Critical incident Briefing: A process Whereby individuals are provided an
opportunity to express their thoughts and feelings about a critical incident (e.g.
suicide, serious injury or death of an inmate or employee), develop an
understanding of critical stress symptoms and develop ways of dealing With those
symptoms.

5. Lethality: The relative probability of an inmate committing suicide, measured in
severity on a low»risl< continuum.

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6. Medical Staff: Licensed health professionals who are employed by or contracted
by the Aiiegheny County Bureau of Corrections are responsible for providing
medical services to inmates (e.g. physicians, physician assistants, nurses).

7. Mental Health Staff: individuals whose primary duty is to provide mental health
services to inmates in keeping with their respective levels of education,
experience, credentials and training.

8. Observation Bed/Cell: Are designed for medical or mental health observation for
specific purposes, such as watching the patient's response to a change in
medication regimen. Patients also can be placed in observation beds to prevent
them from eating or drinking before a medical test that requires such restriction,
to allow patients to recover from day surgeries or medical procedures or to
watch the general behavior of inmates whose mental stability appears
questionable

9. Potentialiy Suicidal: inmates are not actively suicidal but express suicidal
ideation and/or have a recent history of self-destructive behavior.

10.Psychoiogical Autopsy (Psychological Reconstruction): Usuaily conducted by a
psychologist or other qualified mental health professiona|, it is a written
reconstruction of an individua|'s, life with emphasis on factors that may have
contributed to the death.

11.Qualified Health Care Professional: include physicians, physician assistants,
nurses, nurse practitioner, dentists, mental health professionals and others who
by virtue of their education, credentials and experience are permitted by law to
evaluate and care for patients.

12.Qualified Mental Health Professiona|s: include psychiatrists, psychologists,
psychiatric social workers, psychiatric nurses, and others who by virtue of their
education, credentiais, and experience are permitted by law to evaluate and care
for the mental health needs of patients.

13.Suicide Attempt: A non-fatal self-inflicted destructive act with explicit or
deferred intent to die.

14.Suicide Observation: A measure utilized for the inmate who, though suicida|, is
not thought to require continuous observation. inmates on close observation
may be housed in an observation bed/cell and observed at staggered intervals
that do not exceed (15) minutes.

15.Suicide Watch: A measure utilized for the inmate who is actively suicida|.
inmates on constant observation are housed in an observation bed/cell that

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allows continuous observation without interruption with documentation every
(15) minutes.

16.Suicide Watch Paraphernalia: items which may be issued to inmates on suicide
watch are especially designed so as to be relatively indestructible and less likely
to be used to harm self. Such items include suicide garment, safety blankets and
safety mattresses that have been approved by the Mental Health Director.

17.Suicidal ideation: Thoughts of harming or killing oneself. The severity of a
suicidal ideation can be determined by assessing the frequency, intensity and
duration of these thoughts.

18.Emergency Referral: Referral to mental health due to an affirmative answer to
four or more questions on the inmate i\/iental Health Screening, a feeling of
hopelessness, current thoughts of killing self, or to a suicide attempt in the past
six months, or any other situation where mental health assessment is required in
four hours or less.

19.Urgent Referral: Referral to mental health that does not meet the criteria for an
emergency (i.e. an inmate that has no mental health history, but requests to see
mental health). This is a situation where mental health assessment is required in
24 hours or less.

SECT|ON 1: PRCGRAM OBJECTlVE:
The suicide prevention program shall inciude, but not be limited to:

1. Training: A|legheny County Bureau of Corrections authorized personne|, who
work with inmates, shall, prior to work assignment within the A|legheny
County Bureau of Corrections, receive Pre-Service orientation to recognize
verbal and behavioral clues that indicate a potentially suicidal inmate and
how to respond appropriately. Ail authorized personnel will be trained
annually in suicide prevention and intervention.

2. |dentification: The medical contractor shall administer a mental health
screening for newly admitted inmates to include an interview and observation
related to the inmate's potential suicide risk. if any employee identifies
someone who is potentially suicidal or self-harming, authorized medical staff
shall place the inmate on an appropriate observation status and ensure the
inmate receives further mental health intervention as set forth in this
directive.

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3. Monitoring: Procedures specify monitoring when an inmate is identified as
having increased risk for suicidal or self-harming behaviors.

4. Referral: Employees shall refer potentially suicidal inmates and inmates who
have attempted suicide to mental health care providers in the time frame set
forth in this directive.

5. Evaluation: Qua|ified mental health professionals shall evaluate the inmate
to determine the inmate's level of suicide risk and the appropriate response.

6. Housing: Procedures that address placing an inmate in the mental health
unit, Medical Unit or off-site hospitalization.

7. Communications: Procedures are prescribed for the communications process
between medical, mental health and correctional employees for
implementation of the suicide prevention program.

8. lntervention: Procedures are prescribed for handling a suicide attempt or
self-harming behavior that is in progress, including appropriate first-aid
measures.

9. Notification: Procedures are prescribed for notifying A|legheny County
Bureau of Corrections' managers, outside authorities and family members
regarding potential, attempted and completed suicides.

10.Reporting: Procedures require specific documentation upon identification of
potential or attempted suicide, for subsequent monitoring and for reporting a
completed suicide.

11. Review: Procedures require a clinical and administrative quality management
review following a serious suicide attempt, self-injurious behavior or
completed suicide.

12.Criticai incident Debriefing: Procedures require critical incident debriefing to
discuss the incident and impacted personnel and inmates.

SECT|ON 2: RESPONS|B||¢T|ES:

1. Correctiona| Officers will provide close and constant observation of inmates on
suicide watch.

2. The mental health professionals, physicians, nurses and designated clinical staff
shall have experience or specialized training in correctional practices to include
risks specially presented in a correctional environment.

3. Ciinica| decisions are the sole province of the responsible clinicians and shall not
be countermanded by non-clinicians.

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4. The quality management performance indicators shall be developed and
implemented on a continuous basis by the contractor's mental health provider in
concert with A|legheny County Bureau of Corrections' approvai.

5. The A|legheny County Bureau of Corrections management team shall provide
oversight for the suicide prevention program through monitoring compliance
with local regulations and procedures as set forth in the contractual agreement.

6. To facilitate instructional security and discourage suicide attempts, inmates
shall be prohibited from obstructing the view of their cells or living quarters.
Each inmate shall be visible during routine security checks.

7. Employees who regularly work with inmates shall be trained to identify the
warning signs and symptoms of potentially suicidal behavior, to effectively
coordinate security and treatment procedures between correctional and health
care personnel, to define procedures for suicide watches and suicide precaution
and to monitor inmates who have made a suicide attempt.

8. Correctional employees shall be trained in the application of medical restraints.
Medical restraints are made of soft leather or polyurethane and are deliberately
applied on an emergency basis to immobilize the limbs of persons who are at risk
to injure themselves or others.

SECT|ON 3: QUAi.iTY ASSURANCE:

The A|legheny County Bureau of Corrections will develop a Suicide Prevention and
intervention improvement Team and the medical contractor mental health provider
shall chair this team.

1. This team shall consist of, but may not be limited to, representatives from
A|legheny County Bureau of Corrections' management team, security, medical
contractor, mental health clinicians.

2. The Suicide Prevention Team shall meet at least every quarter to identify
opportunities for continued improvement, design quality improvement
monitoring activities, discuss the results, and implement corrective actions
including policy and operational changes.

3. This team will discuss all suicide attempts and suicides to determine corrective
measures.

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SECTION 42 iNTAKE MELNTAL HEALTH SCREEN|NG:
1. An intake nurse shall, during the health screening, review the inmate's medical
record and interview the inmate to determine if the inmate has a history of

suicide behavior, suicide gestures or self-destructive activities, and review the

inmate's emotional response to incarceration and intellectual functioning (i.e.,

mental retardation, developmental disability, learning disability).

2. When an inmate responds affirmatively to any four (4) or more questions on the

inmate Mental Health Screening, or has a feeling of helplessness or hopelessness,

current thoughts of killing self or attempted suicide in the past six (6) months, the

inmate shall receive further mental health assessment

3. Mental Health Screening shall include the following inquires:

1.
2.

Do you have any current mental health compiaints? No or yes
Do you have a history of a mental health problem? Yes-Complete
Sectionl/ No- Proceed to Section2

Section 1

1.

Have you ever been diagnosed with a mental illness: schizophrenia,
major depression, bipolar, other

2. History of outpatient therapy; within a year
3. History of psych hospitalization; within a year
4. History of psychotropic medication(s)

5. History of hearing things

6. History of seeing things

Section 2

1. History of suicide attempts

2. Are you thinking of suicide now

3. Fami|y/friends history of suicide

4. Recent significant loss

5. Do you feel like there is nothing to look forward to (hopeless/helpless)
6. Have you ever hurt yourself on purpose

7. Are you thinking of hurting yourself now

8. Are you thinking of hurting others now

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Section 3

1. Ever hospitalized for head trauma
History of violent behavior
History of victimization

History of sex offenses

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Special education; developmental disability; mental retardation

SECT|ON 5: MENTAL HEALTH ASSESSMENT:

1. When the inmate answers ”yes” to any of the above screening queries, medical
staff shall refer the inmate for further mental health assessment as set forth in
this section.

2. A licensed mental health professional shall evaluate any inmate referred for a
more comprehensive assessment.

3. Emergency Referral:

a) ”Within four (4) hours or less of a referral, a qualified mental health
professional shall retrieve the referral form and conduct the mental health
assessment when the inmate has answered ”yes” to any question indicated
above?

b) The inmate shall not be moved from the intake Area to any housing unit or
intake cell until a qualified mental health professional has completed the
mental health assessment and made a housing placement determination as
described in this section.

4. Urgent Referral: Within 24 hours of referral, a qualified mental health
professional shall retrieve the referral form and conduct the mental health
assessment (Urgent).

5. Based upon the results of the comprehensive mental health assessment, a
licensed mental health clinician may take one of the following listed actions.
Licensed clinicians shall include l\/lental Health Nurse, independent Clinica| Social
Worker (LlCSW), Licensed Graduate Social Worker (LGSW), Licensed Professional
Counse|or (LPC) Physician Assistant (PA), Psychiatrist and Physician (MD).

a) Clear the inmate for general population placement

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b) Clear the inmate for general population placement with appropriate referral
to mental health care services for on-going counseling and treatment.
c) Order the inmate's placement in the mental health unit or in an
observation/safe cell for a continuum of mental health care.
d) Order the inmate's placement on close observation and or suicide watch or
refer the inmate to appropriate mental health care for emergency treatment.
6. Notification to Psychiatrist:

a) The clinician shall consult with the attendant or on-call Psychiatrist, or
designee within one hour of ordering Close Observation or suicide watch.
b) The Psychiatrist or designee shall conduct a face-to-face interview with the
affected inmate within 24 hours.
7. Mental Health Unit Placement:

a) When an inmate is placed in a mental health unit/cell, the clinician shall notify
the Psychiatrist or designee within one (1) hour of placement.

b) The Psychiatrist or designee shall conduct a face-to-face interview with the
inmate within 24 hours.

SECT|ON 6: OBSERVED BEHAV|OR - GENERAL POPULAT|ON:

1. There are varying degrees of increased risk potential for suicidal and other
deliberate self-injurious behavior. As appropriate, licensed mental health
clinicians may recommend a variety of clinical interventions which may inciude,
but are not limited to, placing the inmate on Close Observation or Suicide Watch
to a cell change, increased observation or interaction with the inmate, or referral
for psychotropic medication evaluation or both.

2. New|y committed inmates may be at increased risk of committing suicide and the
first few hours and days after admission can be critical. Detoxing from drugs or
alcohol increases the risk. For this reason, all detoxing inmates will be double
celled and remain on that pod until 24 hours after detox is complete. if the
inmate is PC or DHU status and cannot be double-celled, the Clinical Services
Coordinator will be contacted to determine appropriate housing in one of the
specialty units. When possible, all newly committed inmates will be double-
celled.

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. However, a serious suicidal crisis may occur at any time. Pod Officers are often
the first to identify signs of potential suicidal behavior because of their more
frequent observations of inmates.

. Employees shall refer inmates to the contractor's Niental Health Director, i\/ienta|
Health Nurse or Licensed Social Worker when observing signs of potential suicide
or other unusual behavior such as:

a) Talk of suicide.

b) Leaving suicidal notes.

c) Giving away possessions

cl) The inmate is acting and/or talking in a strange manner (cannot focus
attention; hearing or seeing things that are not there).

e) The inmate appears overly anxious, panicked, or afraid.

f) The inmate shows signs of depression (crying, emotional flatness).

g) There are sudden changes in behavior to obtain needed attention.

h) The inmate appears unusually calm after a period of agitation (having a flat
affect and/or refusing to communicate, often the decision to attempt suicide

has now been made).

i) The inmate is expressing unrealistic talk of release or talking about plans to
escape.

j) The inmate is engaging in unusual behavior as a cry for help or to obtain
needed attention.

k) There are other signs of distress: deterioration in hygiene or sudden changes
in behavior.

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5. Correctional employee shall complete scheduled and unscheduled rounds in
accordance with A|legheny County Bureau of Corrections' policy, but not less
than one (1) hour in all pods. Employee shall log accurate information of
observation made while making rounds. This is important information to help
determine changes in an inmate's behavior. Employees shall also prepare an
incident Report when observing significant changes in behavior or statements
reflected above.

6. Employees shall take seriously all threats to self-injure and suicide attempts or
information from other inmates about an inmate exhibiting potential suicidal
and/or self-injurious behavior.

7. Correctional employees shall immediately notify a mental health professional and
the shift commander if an inmate is observed displaying signs of potential suicidal
behavior.

8. Correctional employees shall maintain a constant watch, to ensure the inmate's
safety until mental health employees arrive.

9. Upon notification, the mental health professional depending upon the severity of
the observation shall respond within 15 minutes if deemed emergency or one (1)
hour, if deemed a non-emergency, as defined by the clinician, to evaluate the
inmate,

10.The mental health professional may take appropriate clinical intervention as
outlined above, when determining that the inmate is at risk to harm himself or
others, or in need of more intense or acute mental health intervention.

11.The licensed mental health clinician or designated mental health nurse (RN), who
admits the inmate, shall complete a Mental Health Admission Form and the
actions taken prior to the end of his/her shift. The admission form shall
document findings relative to the inmate's suicide risk as Close Observation or
Suicide Watch, actions taken to address the suicide concern and safety of the
inmate, demographic information and any other relevant information including
referrals for care and management

SECTiON 7: OBSERVEQ_LHAV|OR-SEGREGAT|ON HOUS|NG:
1. Prior to placement in any segregated housing unit, inmates shall receive medical
clearance and a mental health screening by a mental health nurse or Licensed
Practitioner prior to, or within 24 hours of, segregation placement

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2. Segregated inmates may be at a higher risk for potential suicidal behavior. Any
segregated inmate presenting observed behavior defined in this directive or
presenting suicidal gestures or threats may be at an increased risk for potential
suicide attempts

3. Protective Custody (PC):

a) inmates, who request PC without a documented reason, especially during the
first 72 hours of admission, may be at increased risk for suicide.

b) inmates housed in PC for extended periods, including those with long
sentences, may also be at increased risk for suicide.

c) inmates taking psychotropic medication may be at increased risk for suicide
depending on their mental illness and their risk factors and may refuse, hoard
or not take their medications.

4. if employees observe the inmate displaying signs of distress, deterioration in
hygiene, sudden changes in behavior or potential suicidal behavior, the employee
shall continuously observe the inmate to ensure the inmate's safety and shall
immediately notify a medical or mental health professional and the shift
commander. Employees shall document the behavior observed and action taken
to include notification made in an incident Report.

5. Upon receiving notification of an inmate displaying signs of potential suicidal
behavior, the contractor's mental health professional shall respond to the
housing unit within 15 minutes.

6. The contractor's mental health professional shall take appropriate clinical
interventions as outlined in this policy when determining that the inmate is at
risk to himself or others or in need of more intensive or acute mental health
intervention.

7. Rounds by mental health staff shall be conducted three (3) times per week to
identify inmates expressing or reporting increased risk of harm to self or
deterioration in mental status.

SECT|ON 8: SUIC|DE SECUR|TY iNSPECT|CNS FOR CLASS|F|CAT|ON FODS:
A. Suicide inspections are the responsibility of correctional officers.
B. There will be two (2) correctional officers assigned to our classification pods.

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These correctional officers shall make security inspections at irregular intervals
every fifteen (15) minutes to ensure inmates are not attempting to commit
suicide and are not in medical distress.

D. All suicide security inspections shall be notated in the pod logbook.

Any emergent situation requires that immediate notifications be made to
supervisory staff.
Life saving measures will be taken by correctional officers if needed.

SECT|ON 9: USE OF FORCE:
Correctional officers may, in accordance with the Use of Force Policy, physically restrain

an inmate to prevent the inmate from self-injury, injury to others, damage or

destruction of property and to control violent behavior.

SECT|ON 10: MED|CAL RESTRA|NTS:
Medical restraints shall only be used in the following manner:

al

fl

Only a Psychiatrist, Physician or l\/lental Health Nurse Practitioner/Physician
Assistant shall assess and, after determination that less restrictive interventions
are effective, issue a written order to use restraints necessary to prevent serious
injury to the inmate or others.

Medical restraints shall never be ordered or otherwise applied as a means of
coercion, discipline, convenience or retaliation.

The Mental Health Nurse Practitioner/Physician Assistant order may only be in
effect for up to a four (4) hour duration for adult inmates and up to two (2) hours
for inmates ages seventeen (17) years or younger.

Within one (1) hour of the application of restraints, a Mental Health RN shall
conduct a face-to-face observation of the inmate to evaluate the need for
continued restraint

As deemed clinically necessary, the l\/iental Health RN may contact the
Psychiatrist, Physician or Mental Health Nurse Practitioner/Physician Assistant
who gave the initial order for restraints to request a renewal of the original order
for up to another four (4) hours for an adult or for an additional two (2) hours for
a person who is seventeen (17) or younger.

inmates placed in medical restraints shall only be placed in a face-up position.

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g) The i\/iental Health Nurse RN, or designee, shall assign nursing staff to provide
constant observation of an inmate in medical restraints.

h) in reference to NCCHC standard 2008 i-i-01: ” With regard to custody - order
restraints”:

a. When restraints are used by custody staff for security reasons, health
services staff are notified immediately in order to: (1) review the health
record for any contraindications or accommodations required, which, if
present, are immediately communicated to appropriate custody staff, and
(2) initiate health monitoring, which continues at designated intervals as
long as the inmate is restrained.

b. if the restrained inmate has a medical or mental health condition, the
physician is notified immediately so that appropriate orders can be given.

c. When health services staff note improper use of restraints that is
jeopardizing the health of an inmate, they communicate their concerns as
soon as possible to appropriate custody staf .”

SECT|ON 11: TERIV||NAT|ON OF MED|CAL RESTRA|NTS:

Except in the event of a medical emergency for the inmate, only a Psychiatrist, Physician
or iVlental Health Nurse Practitioner/Physician Assistant shall determine when an
inmate shall be released from medical restraints.

SECT|ON 12: NON-EMERGENCY TRANSPORT:

Health care staff shall coordinate with the Shift Commander and transportation staff
about appropriate security precautions to observe when transporting a suicidal inmate
to a medical facility outside the A|legheny County Bureau of Corrections. Health care
staff shall advise the Shift Commander and transportation officers about concerns
regarding the following:

1. Adding additional officers to the transport detail to manage security concerns.

2. Using correctional officers with special training in working with mentally ill
inmates.

3. Using appropriate restraints

4. identifying medical precautions for staff and inmates, such as face mask, glove
etC.

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Correctional Officers shall provide custodial security and supervision of a suicidal inmate
during transport to a facility outside the A|legheny County Bureau of Corrections and
while the inmate undergoes treatment (Please Note: transport to Torrance State
Hospital and Western Psychiatric Clinic is provided by the A|legheny County Sherriff’s).

An inmate returning from emergency psychiatric hospitalization and or emergency

medical treatment due to suicidal behavior shall be evaluated by a licensed mental

health provider. Mental health staff shall, within one (1) hour of the inmate's arrival
back to the A|legheny County Bureau of Corrections, conduct a comprehensive mental
health assessment to determine housing.

SECTiON 13: SU|C|DE WATCH AND SU|C|DE PRECAUT|ON:
A. A Physician, licensed mental health professional or other clinician may place an

inmate on Close Observation or Suicide Precaution. The referring provider shall
consult with the on-call Psychiatrist, Physician or i\/iental Health
Practitioner/Physician Assistant within one (1) hour of taking this action and the
Psychiatrist or Mental Health Practitioner/Physician Assistant shall conduct a
face-to-face interview with the inmate within twenty four (24) hours.

B. Observation Beds/Celis:

1. Observation beds/cells are located on the inpatient Mental Health Unit.

2. An observation bed/cell shall not contain electrical switches or outlets, towel
racks, desk, sinks, radiator vents or any other fixture that could be used as an
anchoring device for hanging.

3. The bed/cell shall allow a full and clear line of sight and sound of the inmate.

4. The observer and the suicidal inmate shall not be in the same cell and shall
have a locked door separating them.

5. The observer shall have a means to summon help immediately if emergency
intervention becomes necessary.

C|ose Observation:

1.

Correctional Officers shall physically observe each inmate on close observation at
staggered intervals of no more than every fifteen (15) minutes.

. Correctional Officers shall document each physical observation and the inmate's

activities as they occur in the unit logbook.

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Suicide Watch is a precautionary measure used when the inmate presents a
higher risk of suicide than determined for those placed on Suicide Precautions:

1. Correctional Officers shall be designated to conduct and document their
constant observation of the inmate and his/her activities.

Security Requirements for Suicide Watch and Close Observation:

1.

The Shift Commander shall ensure that the inmate is strip searched and all
restricted items are confiscated

2. The inmate shall be placed in a suicide gown.

The clinician may order other precautions such as safety blankets and safety
mattresses.

The Pod Officer shall inspect the designated observation bed/cell to remove any
unauthorized items before placing the inmate in the observation bed/cell.

The inmate may keep only those items prescribed by mental health.

inmates who are on placed Suicide Status are to have their cells searched daily by
the pod officer and assigned unit manager. Searches are to be conducted on the
7x3 and 3x11 shifts and are to be documented in the Shift Commanders Report.

Termination of Suicide Watch or Suicide Precautions:

1.

Only a Psychiatrist, Mental Health Nurse Practitioner/Physician Assistant shall
authorize a downgrade from Suicide Watch to Close Observation for a reasonable
period prior to the termination of the Suicide Watch. A Psychiatrist or Nurse
Practitioner's approval to terminate Suicide Watch shall be provided in person or
through a documented verbal order.

Only a Psychiatrist, Mental Health Nurse Practitioner/Physician Assistant shall
approve termination of Suicide Watch status for an inmate, A Psychiatrist
approval to terminate Suicide Watch shall be provided in person or through a
documented verbal order. The Psychiatrist order shall include clinical
recommendations for appropriate housing as weil as an order for follow-up care
within seventy two (72) hours.

. The Mental Health Nurse or designee shall ensure that the termination of an

inmate's Suicide Watch status is documented in the inmate's medical record.

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Documentation shall also include name, date, time and specific instructional
remarks.

SECT|ON 142 SU|C|DE ATTEMPTS:

1.

The medical health contractor shall respond to all medical emergencies, including
those involving inmates, A|legheny County Bureau of Corrections and contract
employees.

Any employee, who discovers a possible suicide attempt, an individual who is
unresponsive or an inmate who appears ready to inflict self-harm, shall
immediately call for a medical emergency.

Employees shall also take reasonable care as the inmate may act unpredictably
and may become violent The employee shall take necessary and appropriate
action to preserve the affected inmate's life, including emergency CPR when
needed.

As practical, correctional officers shall lock down all inmates or ensure they are
moved away from the area and are well supervised before attempting
intervention.

Contractor's health services employees and additional correctional employees
are expected to respond to the emergency within four (4) minutes or less.

Upon arrival, medical employees shall assess the inmate's condition to determine
if the inmate requires emergency transportation; the nurse or designee shall call
9~1-1.

. if the inmate is already in the medical unit, medical employees shall directly

notify 9-1-1 when the inmate requires emergency medical care and transport

SECT|ON 15: HANG|NG:
An employee who discovers an inmate hanging shall:

a) After surveying the scene and calling for help and for medical assistance, the

employee who discovers the hanging inmate shall attempt to reduce tension on
the inmate's neck by supporting the inmate by the legs while the inmate is facing
the employee.

b) Upon arrival of additional staff, the first employee on the scene shall continue to

support the inmate body while the second officer shall use the rescue tool

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(wonder knife) to cut the inmate down. The employee shall immediately remove
the noose from around the inmate's neck.

A|legheny County Bureau of Corrections' employees are trained in
Cardiopu|monary Resuscitation (CPR) First Aid. As such, correctional employees
shall immediately initiate CPR and/or First Aid, as appropriate, until medical staff
relieves the employee. An employee shall immediately start CPR/First Aid and
never wait for medical staff to arrive before starting life saving measures.

Upon arrival, the contractor health service providers shall assume medical care
and decisions and shall continue CPR and other life saving measures while
instructing that 9-1-1 is called.

The contractor's Physician, Nurse Practitioner or Physician Assistant or nurse
remains the authorized medical authority as it relates to any patient emergency
care or decisions until 9-1-1 arrives.

SECT|ON 16: |NMATE LATH:

1.

if the contractor's Physician, Nurse Practitioner, or Physician Assistant
determines through assessment of the victim that all the clinically accepted signs
and symptoms of death are present and that the victim is clinically dead and
beyond being revived, the contractor's Physician may order the CPR be ceased
and may pronounce death.

Upon pronouncement of death, the site shall then be treated as a crime scene
and evidence preserved.

SECT|ON 17: EV|DENCE PRESERVAT|ON:
Sites where an inmate has attempted or successfully committed suicide shall be treated
as a crime scene in the following manner:

The initial response pursuant to guidelines set forth in this directive in order shall
be to preserve life and control witnesses.

. integrity of the Physical Site. An A|legheny County Bureau of Corrections

supervisor shall ensure:

a) The area is partitioned with a barrier in order to control access and to
avoid contamination of evidence.
b) Employees and other inmates do not touch or move items

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c) Employees and other inmates do not touch or move the deceased inmate
d) Correctional employees shall wait for the County police crime scene
technicians to process the crime scene.

SECT|ON 18: NOT|FiCATiON FOLLOW|NG A SU|C|DE OR SU|C|DE A'l'i'EiV|PT:

The Shift Commander shall ensure that notifications are made as quickly as possible
through the Chain of Command to include the Warden and the internal Affairs Office
and all staff that came into contact with the victim before the incident shall be required
to submit a statement including their full knowledge of the inmate and incident

SECTlON 19: AFTER ACT|ONS REV|EW:

Following a suicide or attempted suicide that resulted in an emergency medical
response/correctional response, the Suicide Prevention and intervention Team (SP|T)
shall meet within seven (7) days.

The team shall comprise of the following:

Health Service Administrator
Deputy Wardens
Psychiatrist

Mental Health Staff

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This team shall meet and prepare a written report to the Warden that shall include, but
not be limited to:

1. A summary of significant information resulting from the team review and OiA
investigation

2. A report of events as they occurred

3. The team's analysis and conclusions of the events

4. Recommendations for policy and operational improvements
A preliminary report of the team's findings based on the criteria listed above shall be
submitted to the Warden no later than seventy two (72) hours after the initial SP|T
meeting.

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_S_ECT|ON 20: CR|T|CAL |NC|DENT DEB_|§F|NG:

1. Following a suicide or suicide attempt, trained contractor mental health
employees, as authorized by the contractor's Director of Mental Health, shall
conduct critical stress debriefing and crisis intervention for staff and inmates who
witnessed or were involved in the suicide incident

2. Each inmate or employee who witnessed or was involved in a suicide incident
shall be provided access to mental health counseling via the mental health
clinician. The Deputy Warden for Operations shall ensure that employees are
aware of the availability of this service.

3. The Employee Assistance Program shall also assist A|legheny County Bureau of
Corrections employees who need additional counseling beyond the sessions
provided by the critical stress debriefing team.

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